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                               U NITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                            www.flsb.uscourts.gov
                                           CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                           1 Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                                             Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

 DEBTOR:              Eduardo Antonio Ramirez                            JOINT DEBTOR:                                            CASE NO.:       17-17272
 Last Four Digits of SS#                   xxx-xx-5809                  Last Four Digits of SS#

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s) to pay
to the trustee for the period of 60 months. In the event the trustee does not collect the full 10%, any portion not collected will be paid
to the creditors pro-rata under the plan:
           A.       $            880.46   for months            1     to       15       ;
           B.       $            800.84   for months           16     to       60       ;
           C.       $                     for months                  to                ; in order to pay the following creditors:
 Administrative: Attorney's Fee - $                  6,000.00       TOTAL PAID $                      2,000.00
                     Balance Due        $            4,000.00 payable $ 266.66                   /month (Months          1 to      15 )
Secured Creditors: [Retain Liens pursuant to 11 USC § 1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
 Ocwen Loan Servicing, LLC                               Arrearage on Petition Date $
 Address:                                                         Arrears Payment $                                /month     (Months to )
 Account No:                                                      Regular Payment $                         325.76 /month     (Months 1 to 60 )

 New World Condo
                                                         Arrearage on Petition Date $
                       New World Condo
                       18441 NW 2 Ave; Suite 505;
 Address:              Miami, FL 33169                                                                      Arrears Payment $              /month                   (Months   to
 Account No:                                                         Regular Payment $                        200 /month (Months 1 to 60 )
IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING YOUR CLAIM IN THE
AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT TO BR 7004 AND LR 3015-3.

                                                            Description of Collateral
             Secured Creditor                                and Value of Collateral    Interest Rate           Plan Payments Months of Payment    Total Plan Payments
                                                         395 NW 177 St, H139
 New World Condo                                             Miami, FL 33169
 18441 NW 2 Ave; Suite 505;                               Miami-Dade County
 Miami, FL 33169                                 $                 46,000.00                0%          $              0.00       0 To 0                             0.00

Priority Creditors: [as defined in 11 U.S.C. §507]
      -NONE-                          Total Due $
                                      Payable       $                        /month          (Months to )                        Regular Payment $
Unsecured Creditors: Pay $195.00/month (Months 16 to 60 ).
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above:
Rejected Contracts and/or Leases
 -NONE-
 Assumed Contracts and/or Leases
 -NONE-

             Special Intentions:

             The Debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on
             an annual basis during the pendency of this case. The Debtor(s) hereby acknowledges that the deadline for providing
             the Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s)
             shall provide the trustee with verification of their disposable income if their gross household income increases by
             more than 3% over the previous year’s income.


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             *The proposed payment under the LMM program has been reduced by the the association($200.00)


“The debtor has filed a Verified Motion for Referral to MMM with Ocwen Loan Servicing,
LLC__(“Lender”), loan number _________, for real property located at __395 NW 177
St, H139 Miami, FL 33169__. The parties shall timely comply with all requirements of the
Order of Referral to MMM and all Administrative Orders/Local Rules regarding
MMM. While the MMM is pending and until the trial/interim payment plan or the
permanent mortgage modification/permanent payment is established by the
parties, absent Court order to the contrary, the debtor has included a
post-petition monthly plan payment (a) with respect to the debtor’s homestead, of
no less than the lower of the prepetition monthly contractual mortgage payment
or 31% of the debtor’s gross monthly income (after deducting any amount paid
toward HOA fees due for the property) and (b) with respect to income producing
property, of no less than 75% of the gross income generated by such property,
as a good faith adequate protection payment to the lender. All payments shall be
considered timely upon receipt by the trustee and not upon receipt by the lender.

Until the MMM is completed and the Final Report of Mortgage Modification
Mediator is filed, any objection to the lender’s proof of claim on the real property
described above shall be held in abeyance as to the regular payment and
mortgage arrearage stated in the proof of claim only. The debtor shall assert any
and all other objections to the proof of claim prior to confirmation of the plan or
modified plan.

If the debtor, co-obligor/co-borrower or other third party (if applicable) and the
lender agree to a settlement as a result of the pending MMM, the debtor will file
the MMM Local Form “Ex Parte Motion to Approve Mortgage Modification
Agreement with Lender” (or Self-Represented Debtor’s Motion to Approve
Mortgage Modification Agreement with Lender) no later than 14 calendar days
following settlement. Once the settlement is approved by the Court, the debtor
shall immediately amend or modify the plan to reflect the settlement and the
lender shall amend its Proof of Claim to reflect the settlement, as applicable.

If a settlement is reached after the plan is confirmed, the debtor will file a motion
to modify the plan no later than 30 calendar days following approval of the
settlement by the Court and the Lender shall have leave to amend its Proof of
Claim to reflect the settlement reached after confirmation of the plan. The parties
will then timely comply with any and all requirements necessary to complete the
settlement.

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In the event the debtor receives any financial benefit from the lender as part of
any agreement, the debtor shall immediately disclose the financial benefit to the
Court and the trustee and amend or modify the plan accordingly.

If the lender and the debtor fail to reach a settlement, then no later than 14
calendar days after the mediator’s Final Report is filed, the debtor will amend or
modify the plan to (a) conform to the lender’s Proof of Claim (if the lender has
filed a Proof of Claim), without limiting the Debtor’s right to object to the claim or
proceed with a motion to value; or (b) provide that the real property will be
“treated outside the plan. If the property is “treated outside the plan,” the lender
will be entitled to in rem stay relief to pursue available state court remedies
against the property. Notwithstanding the foregoing, lender may file a motion to
confirm that the automatic stay is not in effect as to the real property.

Confirmation of the plan will be without prejudice to the assertion of any rights the
lender has to address payment of its Proof of Claim.”

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 /s/ Eduardo Antonio Ramirez
 Eduardo Antonio Ramirez
 Debtor
 Date: August 24, 2017




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